       Case 5:19-cv-01280-FB-RBF Document 218 Filed 04/14/22 Page 1 of 1


                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

MICHAEL J DANIELS, et al.                         §
                                                  §
                  Plaintiffs,                     §               5-19-CV-01280-FB-RBF
                                                  §
vs.                                               §
                                                  §
AETC II PRIVATIZED HOUSING, LLC, et               §
al.                                               §
                                                  §
                  Defendants.                     §

                                AMENDED SCHEDULING ORDER

       Before the Court is the Joint Motion to Amend/Correct the Scheduling order. See Dkt. No.

217. Being fully advised in the premises, the Court finds that the joint motion is well taken and

should be, and hereby is, GRANTED.

       Accordingly, it is hereby ORDERED as follows:

       The deadline for completion of Rule 35 examinations will be extended until May 10, 2022;

The Court will entertain any requests for relief from discovery by Defendants, if any, after the Wolf

and Konzen depositions;

       Defendants will be allowed to take the deposition of Dr. Mercado on any rebuttal reports

outside of the discovery deadline provided the deposition occurs no later than 30 days after Dr.

Mercado provides her rebuttal report;

       The deadline for dispositive motions will be extended an additional forty-five (45) days from

May 22, 2022 until July 6, 2022; AND

        The page limit set forth in the Scheduling Order will be extended to 35 pages for each

original brief and response and 10 pages for each reply.

       IT IS SO ORDERED.

       SIGNED this 14th day of April, 2022.




                                               RICHARD B. FARRER
                                               UNITED STATES MAGISTRATE JUDGE
